Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 1 of 16 Page ID #:1



  1   SULAIMAN LAW GROUP, LTD.
  2   Alejandro E. Figueroa (State Bar No. 332132)
      2500 South Highland Avenue, Suite 200
  3   Lombard, IL 60148
  4   Telephone: (630) 575-8181 x 120
      Facsimile: (630) 575-8188
  5   Email: alejandrof@sulaimanlaw.com
  6   Attorney for Plaintiff

  7

  8                       UNITED STATES DISTRICT COURT

  9                     CENTRAL DISTRICT OF CALIFORNIA

 10

 11    KRISTIN LANGLOIS,                    Case No. 8:22-cv-00874

 12                   Plaintiff,            COMPLAINT FOR DAMAGES

 13          v.                             1. VIOLATIONS OF THE CREDIT
                                            REPAIR ORGANIZATIONS ACT, 15
 14                                         U.S.C. §1679 ET SEQ.;
       HENRY LEGAL GROUP, PLLC
 15    d/b/a HEARTLAND LEGAL                2. VIOLATION OF THE
       GROUP, LLC,                          CALIFORNIA CREDIT SERVICES
 16                                         ORGANIZATIONS ACT OF 1984,
                      Defendant.            CAL. CIV. CODE §1789.10 ET SEQ.
 17
                                            3. VIOLATIONS OF THE
 18                                         CALIFORNIA FAIR DEBT
                                            SETTLEMENT PROCEDURE ACT,
 19                                         CAL. CIV. CODE § 1788.300 et seq.;

 20

 21                                         DEMAND FOR JURY TRIAL

 22

 23                                   COMPLAINT
 24         NOW comes KRISTIN LANGLOIS (“Plaintiff”), by and through the
 25
      undersigned, complaining as to the conduct of HENRY LEGAL GROUP, PLLC
 26
      d/b/a HEARTLAND LEGAL GROUP, PLLC (“Defendant”) as follows:
 27

 28                                NATURE OF THE ACTION
                                              1
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 2 of 16 Page ID #:2



  1
         1. Plaintiff brings this action for damages pursuant to the Credit Repair
  2

  3   Organizations Act (“CROA”) under 15 U.S.C. § 1679 et seq. the California Credit
  4
      Services Organizations Act of 1984 (“CCSOA”) pursuant to Cal. Civ. Code §1789.10
  5
      et seq., and the California Fair Debt Settlement Practices Act (“CFDSPA”) under
  6

  7   Cal. Civ. Code § 1788.300 et seq. for Defendant’s unlawful conduct.
  8
                                   JURISDICTION AND VENUE
  9
         2. This action arises under and is brought pursuant to the CROA. Subject matter
 10

 11   jurisdiction is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C.
 12
      §§1331 and 1337, as the action arises under the laws of the United States.
 13

 14
      Supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367.

 15      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant
 16
      conducts business within the Central District of California and a substantial portion
 17

 18
      of the events or omissions giving rise to the claims occurred within the Central

 19   District of California.
 20
                                            PARTIES
 21

 22      4. Plaintiff is a natural “person,” as defined by 47 U.S.C. § 153(39), over 18 years

 23   of age, residing in Huntington Beach, California, which lies within the Central
 24
      District of California.
 25

 26      5. Defendant is a credit repair organization that offers its clients both legal and

 27   non-legal services designed to resolve their debt issues, in turn allowing such
 28
                                                 2
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 3 of 16 Page ID #:3



  1   consumer’s to improve their credit history by using Defendant’s service. Defendant
  2
      is a professional limited liability company organized under the laws of the state of
  3

  4   Michigan with its principal place of business located at 41000 Woodward Avenue,

  5   Suite 350, Bloomfield Hills, Michigan.
  6
         6. Defendant is a “person” as defined by 47 U.S.C. §153(39).
  7

  8      7. Defendant acted through its agents, employees, officers, members, directors,
  9   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives
 10
      and insurers at all times relevant to the instant action.
 11

 12                            FACTS SUPPORTING CAUSES OF ACTION
 13      8. In approximately February 2020, Plaintiff was seeking to improve her credit
 14
      and try and resolve some debts that were appearing on her credit report, and began
 15

 16   considering whether to enlist the services of a credit repair organization or debt
 17   consolidation company.
 18
         9. Plaintiff subsequently came upon Defendant.
 19

 20      10. Plaintiff spoke with Defendant, who in turn subjected Plaintiff to an in-person
 21
      meeting to explain the nature of its services and what Plaintiff could expect.
 22
         11. Plaintiff was informed that she would enroll a number of debts in Defendant’s
 23

 24   program, make monthly payments to Defendant, and once there were enough funds
 25
      from which Defendant could negotiate with her creditors, Defendant would begin
 26
      working on resolving Plaintiff’s debts with the creditors or those seeking collection
 27

 28   of the enrolled debts.
                                                   3
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 4 of 16 Page ID #:4



  1      12. Plaintiff clarified that she wanted the debts resolved so as to improve her
  2
      credit history, and Defendant advised that, while there may be a slight diminishment
  3

  4   to her credit score by using Defendant’s program, ultimately her credit history would

  5   improve because she would have resolved debts that otherwise went unresolved.
  6
         13. Plaintiff subsequently entered into a contract with Defendant for the provision
  7

  8   of its credit repair services and enrolled two debts in Defendant’s program – one
  9   owed to Barclays Bank, and another owed to Lending Club.
 10
         14. Plaintiff’s payments to Defendant totaled approximately $600 each month.
 11

 12      15. However, Defendant inappropriately took from Plaintiff’s payments retainer
 13   fees and other service-related fees purportedly earned by Defendant, despite
 14
      Defendant not having performed any services, let alone completely performing the
 15

 16   services, that would have justified the retention of such fees.
 17      16. Plaintiff persisted in making her monthly payments to Defendant for
 18
      approximately two years.
 19

 20      17. Throughout this time, Plaintiff contacted Defendant on a number of occasions
 21
      to inquire about the status of its services and how her payments were going towards
 22
      resolving her debts.
 23

 24      18. In response to Plaintiff’s requests for information, Defendant would
 25
      persistently give Plaintiff the run-around and provide deflective answers about where
 26
      exactly Plaintiff’s payments were being directed.
 27

 28
                                                  4
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 5 of 16 Page ID #:5



  1      19. Defendant persistently misrepresented where Plaintiff’s payments were going
  2
      as it suggested they were being put towards the enrolled debts.
  3

  4      20. Additionally and upon information and belief, Defendant was charging

  5   Plaintiff for additional service fees that had not been previously explained or
  6
      disclosed to Plaintiff.
  7

  8      21. Wanting further information about the nature of Defendant’s services,
  9   Plaintiff requested an accounting and itemization of where her funds were going;
 10
      however, Defendant refused to provide any information or accounting of where
 11

 12   Plaintiff’s payments were being directed.
 13      22. Additionally, despite Plaintiff making at least $14,000 in payments to
 14
      Defendant, Defendant failed to settle any of the debt Plaintiff had enrolled in
 15

 16   Defendant’s program, despite Plaintiff having directed more than enough funds for
 17   Defendant to reach such settlements.
 18
         23. Defendant represented to Plaintiff that her debts would be resolved once she
 19

 20   had made enough payments – yet such representation was rendered false, deceptive,
 21
      and misleading by the way in which Defendant went about administering Plaintiff’s
 22
      debt resolution program and its failure to even begin resolving Plaintiff’s obligations
 23

 24   despite her maintenance of more than enough payments.
 25
         24. Frustrated and distressed over Defendant’s conduct, Plaintiff spoke with the
 26
      undersigned regarding her rights.
 27

 28
                                                  5
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 6 of 16 Page ID #:6



  1      25. Plaintiff has suffered concrete harm as a result of Defendant’s actions,
  2
      including but not limited to, emotional distress, aggravation, mental anguish,
  3

  4   pecuniary harm, denial of the benefit of her bargain, making payments for deficient

  5   credit repair services, relying upon Defendant’s representations to her detriment,
  6
      being subjected to improper fees, as well as a violation of her state and federally
  7

  8   protected interests – interests which were harmed and put at a material risk of harm
  9   as a result of Defendant’s conduct.
 10
            COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
 11

 12      26. Plaintiff repeats and realleges paragraphs 1 through 25 as though fully set forth
 13   herein.
 14
         27. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.
 15

 16      28. Defendant is a “credit repair organization” as defined by §1679a(3) of the
 17   CROA, as it is a person who uses any instrumentality of interstate commerce or the
 18
      mails to sell, provide, or perform any service, in return for the payment of money or
 19

 20   other valuable consideration, for the express or implied purpose of improving a
 21
      consumer’s credit, credit history, or credit rating, or providing assistance to any
 22
      consumer with regard to any activity or service for the purpose of improving a
 23

 24   consumer’s credit.
 25
                a. Violations of CROA § 1679b(a)
 26
         29. The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from
 27

 28   “mak[ing] or us[ing] any untrue or misleading representation of the services of the
                                                  6
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 7 of 16 Page ID #:7



  1   credit repair organization.” Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any
  2
      person is prohibited from “engag[ing], directly or indirectly, in any act, practice, or
  3

  4   course of business that constitutes or results in the commission of, or an attempt to

  5   commit, a fraud or deception on any person in connection with the offer or sale of
  6
      the services of the credit repair organization.”
  7

  8      30. Defendant violated the above referenced provisions of the CROA through its
  9   misrepresentations and deception as to the nature of the credit repair services it
 10
      provided Plaintiff. Defendant represented to Plaintiff that, upon making enough
 11

 12   payments to establish sufficient funds in a settlement fund, Defendant would be able
 13   to resolve her debts. However, despite Plaintiff sufficient payments from which at
 14
      least one of the enrolled debts could have easily been resolved in line with
 15

 16   Defendant’s representations, Defendant failed to do so. As such, Defendant
 17   deceptively represented the timeline by which Plaintiff’s payments would be
 18
      sufficient to begin resolving her enrolled debts.
 19

 20      31. Defendant further violated the above referenced provisions of the CROA
 21
      through its deceptive and misleading representations regarding where Plaintiff’s
 22
      payments were going. Throughout the parties’ dealings, Defendant deceptively and
 23

 24   misleadingly provided Plaintiff the run-around on precisely where her fees were
 25
      going. Defendant engaged in this deceptive and misleading conduct in order to
 26
      mislead Plaintiff into thinking that Defendant’s retention of fees was justified, and
 27

 28   to similarly attempt to convince Plaintiff that her fees were being applied as
                                                 7
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 8 of 16 Page ID #:8



  1   originally represented, despite that not being the case. Defendant engaged in this
  2
      deceptive and misleading run-around with Plaintiff in order to continue bilking
  3

  4   payments from Plaintiff.

  5      32. Defendant further violated the above referenced provisions of the CROA by
  6
      deceptively representing the effectiveness of its services. Despite Plaintiff making
  7

  8   payments for years, Defendant has failed to address any of Plaintiff’s enrolled debts.
  9          b. Violations of CROA § 1679b(b)
 10
         33. The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair
 11

 12   organization may charge or receive any money or other valuable consideration for
 13   the performance of any service which the credit repair organization has agreed to
 14
      perform for any consumer before such service is fully performed.”
 15

 16      34. Defendant violated § 1679b(b) through its charging and receiving of money
 17   for services it agreed to perform for Plaintiff before such services were fully
 18
      performed. Defendant’s practice of charging a retainer for services upfront, before
 19

 20   such services are performed, inherently violates the CROA. Defendant similarly
 21
      withheld sums from credit repair services it never actually performed, and has not
 22
      refunded such payments to Plaintiff.
 23

 24          c. Violation of CROA § 1679c
 25
         35. The CROA provides that a credit repair organization must provide consumers
 26
      with certain written disclosures in the contract underpinning the provision of credit
 27

 28   repair services to consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written
                                                8
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 9 of 16 Page ID #:9



  1   statement required under this section shall be provided as a document which is
  2
      separate from any written contract or other agreement between the credit repair
  3

  4   organization and the consumer or any other written material provided to the

  5   consumer.”
  6
         36. Defendant violated 15 U.S.C. § 1679c through its failure to provide the written
  7

  8   disclosures required under § 1679c. Defendant never provided such disclosures, nor
  9   did it provide a separate document containing such disclosures.
 10
             d. Violation of CROA § 1679d(4)
 11

 12      37. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair
 13   organization to include, in the contract between them and a consumer, “a
 14
      conspicuous statement in bold face type, in immediate proximity to the space
 15

 16   reserved for the consumer’s signature on the contract, which reads as follows: ‘You
 17   may cancel this contract without penalty or obligation at any time before midnight
 18
      of the 3rd business day after the date on which you signed the contract. See the
 19

 20   attached notice of cancellation form for an explanation of this right.’”
 21
         38. Defendant violated 15 U.S.C. § 1679d(4) through its complete failure to
 22
      provide the above disclosure in immediate proximity to the space reserved for
 23

 24   Plaintiff’s signature on the contract. Nowhere in the contract between Plaintiff and
 25
      Defendant does Defendant provide such a disclosure in bold face type in immediate
 26
      proximity to the space reserved for Plaintiff’s signature, demonstrating Defendant’s
 27

 28   direct violation of § 1679d(4).
                                                 9
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 10 of 16 Page ID #:10



   1      39. As a result of Defendant’s deficient contract, the contract should be deemed
   2
       void and unenforceable. 15 U.S.C. § 1679f(c).
   3

   4          e. Violation of CROA § 1679f(b)

   5      40. The CROA, pursuant to 15 U.S.C. § 1679f(b) provides that, “[a]ny attempt by
   6
       any person to obtain a waiver from any consumer of any protection provided by or
   7

   8   any right of the consumer under [the CROA] shall be treated as a violation of [the
   9   CROA].”
  10
          41. Defendant violated 15 U.S.C. § 1679f(b) through its attempt to obtain
  11

  12   Plaintiff’s waiver of the protections afforded him under the CROA. In the contract
  13   between the parties, Defendant attempts to get Plaintiff to waive a number of rights
  14
       and protections afforded her. For example, Defendant’s contract attempts to
  15

  16   preclude Plaintiff from recovering his attorneys’ fees if she ultimately prevails on a
  17   claim against Defendant.
  18
          42. The CROA further dictates that any contract found not to be in compliance
  19

  20   with the CROA “shall be treated as void” and “may not be enforced by any Federal
  21
       or State court or any other person.” 15 U.S.C. § 1679f(c).
  22
          WHEREFORE, Plaintiff, KRISTIN LANGLOIS, respectfully requests that this
  23

  24   Honorable Court enter judgment in her favor as follows:
  25
          a. Declaring that the practices complained of herein are unlawful and violate
  26         the aforementioned bodies of law;
  27
          b. Awarding Plaintiff actual damages to be determined at trial, as provided
  28         under 15 U.S.C. § 1679g(a)(1);
                                                 10
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 11 of 16 Page ID #:11



   1

   2      c. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
             as provided under 15 U.S.C. § 1679g(a)(2)(A);
   3

   4      d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
             U.S.C. § 1679g(a)(3); and
   5

   6      e. Awarding any other relief as this Honorable Court deems just and
             appropriate.
   7
                      COUNT II – VIOLATIONS OF THE CALIFORNIA CREDIT
   8
                           SERVICES ORGANIZATION ACT OF 1984
   9
          43. Plaintiff restates and realleges paragraphs 1 through 42 as though fully set forth
  10

  11   herein.
  12
          44. Plaintiff is a “buyer” as defined by Cal. Civ. Code § 1789.12(c).
  13

  14
          45. Defendant is a “credit services organization” as defined by Cal. Civ. Code §

  15   1789.12(a).
  16
                 a. Violation of CCSOA § 1789.13
  17

  18
          46. The CCSOA, pursuant to Cal. Civ. Code § 1789.13, provides a list of

  19   prohibited conduct for credit services organizations.
  20
          47. Pursuant to § 1789.13(a), a credit services organization cannot “charge or
  21

  22   receive any money or other valuable consideration prior to full and complete

  23   performance of the services the credit services organization has agreed to perform
  24
       for or on behalf of the buyer.”
  25

  26      48. Defendant violated § 1789.13(a) when it charged and received money from

  27   Plaintiff without fully completing the services. As alluded to supra., Defendant
  28
                                                   11
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 12 of 16 Page ID #:12



   1   improperly retained Plaintiff’s payments without first fully performing the services
   2
       justifying such retained payments.
   3

   4      49. Pursuant to § 1789.13(g), credit services organization cannot “[m]ake or use

   5   untrue or misleading representations in the offer or sale of the services of a credit
   6
       services organization.” Similarly, pursuant to § 1789.13(h), a credit services
   7

   8   organization cannot “[e]ngage, directly or indirectly, in an act, practice, or course of
   9   business that operates or would operate as a fraud or deception upon a person in
  10
       connection with the offer or sale of the services of a credit service organization.”
  11

  12      50. Defendant violated §§ 1789.13(g)&(h) through its deceptive and misleading
  13   representations regarding the nature, cost, and efficacy of its services, as discussed
  14
       supra.
  15

  16             b. Violations of CCSOA §§ 1789.14-1789.15
  17      51. The CCSOA, pursuant to Cal. Civ. Code § 1789.15, provides the extent of
  18
       information that must be provided to a buyer by a credit services organization under
  19

  20   § 1789.14.
  21
          52. Defendant violated these provisions of the CCSOA by failing to provide
  22
       Plaintiff such disclosures and similarly failing to provide Plaintiff a copy of the
  23

  24   disclosures.
  25
                 c. Violations of CCSOA § 1789.16(a)
  26

  27

  28
                                                  12
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 13 of 16 Page ID #:13



   1      53. The CCSOA, much like the CROA, requires credit services organizations to
   2
       include a conspicuous statement regarding a consumer’s right to cancel a contract.
   3

   4   See Cal. Civ. Code § 1789.16(a)(1).

   5      54. Defendant violated § 1789.16(a)(1) by failing to provide the required
   6
       disclosure in the proper location in its contract with Plaintiff.
   7

   8      WHEREFORE, Plaintiff, KRISTIN LANGLOIS, respectfully requests that this
   9   Honorable Court enter judgment in her favor as follows:
  10
          a. Declaring that the practices complained of herein are unlawful and violate
  11         the aforementioned statutes and regulations;
  12
          b. Awarding Plaintiff actual damages pursuant to Cal. Civ. Code § 1789.21(a);
  13

  14
          c. Awarding Plaintiff punitive damages pursuant to Cal. Civ. Code §
             1789.21(a);
  15
          d. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Cal. Civ.
  16         Code § 1789.21(a); and
  17
          e. Awarding any other relief as this Honorable Court deems just and
  18         appropriate.
  19

  20        COUNT III – VIOLATIONS OF THE CALIFORNIA FAIR DEBT SETTLEMENT
  21                                PRACTICES ACT

  22      55. Plaintiff restates and realleges paragraphs 1 through 54 as though fully set forth
  23
       herein.
  24

  25      56. Plaintiff is a “consumer” as defined by Cal. Civ. Code § 1788.301(d).

  26      57. Defendant is a “debt settlement provider” as defined by Cal. Civ. Code §
  27
       1788.301(a).
  28
                                                   13
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 14 of 16 Page ID #:14



   1      58. Defendant does not satisfy the test necessary to be exempted from the
   2
       CFDSPA for attorneys and law firms, as it charges consumers, and charged Plaintiff,
   3

   4   for the debt resolution services it was providing. See Cal. Civ. Code § 1788.304(c).

   5             d. Violation of CFDSPA § 1788.302
   6
                       a. Violations of § 1788.302(a)
   7

   8      59. The CFDSPA, pursuant to Cal. Civ. Code § 1788.302(a), provides that “[a]
   9   debt settlement provider shall not engage in false, deceptive, or misleading acts or
  10
       practices when providing debt settlement services.” Further, “without limiting the
  11

  12   general applicability of the foregoing,” conduct violates § 1788.302(a) if it includes
  13   “[o]mitting any material information.” Cal Civ. Code § 1788.302(a)(3).
  14
          60. Defendant violated § 1788.302(a) of the CFDSPA in much the same way it
  15

  16   violated the CROA and CCSOA’s prohibitions on deceptive and misleading conduct.
  17      61. Defendant further violated Cal. Civ. Code § 1788.302(a)(3) when it omitted
  18
       material information from Plaintiff regarding the way in which Plaintiff’s payments
  19

  20   were being applied. Plaintiff requested this material information, yet Defendant
  21
       consciously chose to omit such material information from Plaintiff and thus leave her
  22
       completely in the dark regarding how Plaintiff’s payments were being applied.
  23

  24                   b. Violations of § 1788.302(c)
  25
          62. The CFDSPA, pursuant to Cal. Civ. Code § 1788.302(c), provides that “[a]
  26
       debt settlement provider . . . shall not engage in unfair, abusive, or deceptive acts or
  27

  28   practices when providing debt settlement services . . . .” Without limiting the general
                                                  14
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 15 of 16 Page ID #:15



   1   applicability of this prohibition, it is considered unfair, abusive, and deceptive for a
   2
       debt settlement provider to “request[] or receive[] payment of any fee or
   3

   4   consideration for debt settlement services, unless and until”: (1) some sort of

   5   settlement or alteration of an enrolled debt has occurred; (2) a consumer has made at
   6
       least one payment pursuant to the negotiated debt; and the fee must be proportional
   7

   8   or otherwise represent a percentage of the amount saved. agreement between the
   9   consumer and the creditor. Cal. Civ. Code § 1788.302(c)(2).
  10
          63. Defendant violated § 1788.302(c) through its unfair and deceptive conduct
  11

  12   directed towards Plaintiff. As alluded to supra., Defendant engaged in a series of
  13   deceptive and unfair conduct in connection with the services it provided Plaintiff.
  14
          64. Furthermore, Defendant violated § 1788.302(c)(2) through its requesting and
  15

  16   receiving payment from Plaintiff for its debt resolutions services upfront, before
  17   completing any of the services it represented it would perform. Rather than wait to
  18
       collect its fees until it actually provided some benefit to Plaintiff, Defendant instead
  19

  20   began siphoning off Plaintiff’s payments for charges and fees it had not actually
  21
       incurred and which were entirely premature given Defendant’s subsequent complete
  22
       failure to perform any of the services it represented it would perform.
  23

  24      WHEREFORE, Plaintiff KRISTIN LANGLOIS, respectfully requests that this
  25
       Honorable Court enter judgment in her favor as follows:
  26
          a. Declaring that the practices complained of herein are unlawful and violate
  27
             the aforementioned statutes and regulations;
  28
                                                  15
Case 8:22-cv-00874-RGK-DFM Document 1 Filed 04/26/22 Page 16 of 16 Page ID #:16



   1      b. Awarding Plaintiff actual damages pursuant to Cal. Civ. Code §
   2         1788.305(b)(1)(B);

   3      c. Awarding Plaintiff statutory damages, pursuant to Cal. Civ. Code §
   4         1788.305(b)(1)(A), of $5,000.00 per violation of this title;

   5      d. Awarding Plaintiff punitive damages pursuant to Cal. Civ. Code §
   6         1788.305(b)(3);

   7      e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Cal. Civ.
             Code § 1789.21(a); and,
   8

   9      f. Awarding any other relief as this Honorable Court deems just and
             appropriate.
  10

  11      Dated: April 26, 2022                      Respectfully submitted,
  12                                                 /s/Alejandro E. Figueroa
  13
                                                     Alejandro E. Figueroa, Esq.
                                                     California Bar No. 332132
  14
                                                     Counsel for Plaintiff
                                                     Sulaiman Law Group, Ltd
  15
                                                     2500 S Highland Ave, Suite 200
                                                     Lombard, IL 60148
  16
                                                     Telephone: (630) 575-8181 Ext. 120
                                                     alejandrof@sulaimanlaw.com
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                16
